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                            United States District Court
                            Eastern District of Michigan


 PUBLIC INTEREST LEGAL
 FOUNDATION,

                                            Plaintiff,
    v.

 JANICE M. WINFREY, in her official Civ. No. 19-___________
 capacity as Detroit City Clerk, and GEORGE
 AZZOUZ, in his official capacity as Director of
 Elections for the City of Detroit,

                                        Defendants.

                  Complaint for Declaratory and Injunctive Relief

         Plaintiff Public Interest Legal Foundation (“Plaintiff” or “Foundation”), by

and through its attorneys, brings this action for violations of Section 8 of the National

Voter Registration Act of 1993 (“NVRA”), 52 U.S.C. § 20507, against Janice M.

Winfrey, in her official capacity as the Detroit City Clerk, and George Azzouz, in

his official capacity as Director of Elections for the City of Detroit. In support of its

action, the Foundation shows the Court as follows:

                        JURISDICTION AND VENUE

         1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C.

§ 1331, as the action arises under the laws of the United States. This Court also has

jurisdiction under 52 U.S.C. § 20510(b), as the action seeks injunctive and

declaratory relief under the NVRA.
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       2.    Venue in this Court is proper under 28 U.S.C. § 1391(b), because a

substantial part of the events or omissions giving rise to the claim occurred in this

district.

                                  PARTIES

       3.    The Plaintiff, the Public Interest Legal Foundation, Inc., (the

“Foundation”) is a non-partisan, nonprofit, public interest organization incorporated

and based in Indianapolis, Indiana. The Foundation seeks to promote the integrity of

elections nationwide through research, education, remedial programs, and litigation.

The Foundation has dedicated significant time and resources to ensure that voter

rolls in the City of Detroit are free from ineligible registrants. The Foundation

produces and disseminates reports, articles, blog and social media posts, and

newsletters in order to advance the public education aspect of its organizational

mission.

       4.    Defendant Janice M. Winfrey is the City Clerk for the City of Detroit.

The City Clerk is the “Chief Elections Officer of the City.” City of Detroit, City

Clerk, https://detroitmi.gov/government/city-clerk. In Michigan, “[c]ity and

township clerks maintain the registration records for their respective jurisdictions

and are responsible for administering all federal, state, county and local elections.”

Michigan’s Elections System Structure Overview, MICH. SEC’Y               OF   STATE,

https://www.michigan.gov/sos/0,4670,7-127-1633_8716-27476--,00.html.


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Defendant Winfrey oversees and maintains Detroit’s voter registration records and

is responsible for executing state and federal laws that require the removal of

ineligible registrants, such as the NVRA. According to the City Clerk’s website,

“Among the City Clerk’s powers and duties are: … 5. To give such notices of all

registrations and elections and to perform duties prescribed in connection with such

registration and elections.” City of Detroit, City Clerk, https://detroitmi.gov/

government/city-clerk.

      5.     Defendant George Azzouz is the Director of Elections for the City of

Detroit. “Under the direction of the City Clerk and in accordance with general

policies of the Election Commission, the Director shall supervise, plan and monitor

all activities and operations incidental to the conduct of elections and voter

registration.” Detroit City Code Sec. 3-104.

      6.     All Defendants are sued in their official capacities only.

                           FACTUAL BACKGROUND

Statutory Background

      7.     Section 8 of NVRA requires states to “conduct a general program that

makes a reasonable effort to remove the names of ineligible voters from the official

lists of eligible voters by reason of – (A) the death of the registrant; or (B) a change

in the residence of the registrant[.]” 52 U.S.C. § 20507(a)(4).




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      8.     Section 8 of the NVRA also requires that states shall “complete, not

later than 90 days prior to the date of a primary or general election for Federal office,

any program the purpose of which is to systematically remove the names of

ineligible voters from the official lists of eligible voters.” 52 U.S.C.

§ 20507(c)(2)(A). Section 8 of the NVRA mandates that any such list maintenance

programs or activities “shall be uniform, nondiscriminatory, and in compliance with

the Voting Rights Act of 1965 (52 U.S.C. § 10301 et seq.).” 52 U.S.C.

§ 20507(b)(1).

      9.     Upon information and belief, Defendants are not complying with the

above-referenced federal-law requirements in performing their duties to maintain the

City of Detroit’s voter rolls, including but not limited to failing to conduct lawful

programs to remove ineligible registrants from the voter rolls by reason of the death

of the registrant. As a result, the City of Detroit’s voter rolls contain thousands of

ineligible deceased registrants, some who have been dead for extraordinary amounts

of time, and the Defendants do not have a reasonable list maintenance program to

detect and remove deceased registrants from the rolls.

      10.    Defendants are responsible for allowing these circumstances to occur

and persist. By failing to implement a program that takes reasonable steps to cure

these circumstances, Defendants have violated and are continuing to violate the

NVRA and other federal voter list maintenance statutes.


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      11.    As an integral part of its public interest mission, the Foundation

disseminates information about compliance by state and local officials with federal

election statutes, including election integrity statutes. A central activity of the

Foundation is to promote election integrity and compliance with federal and state

statutes which ensure the integrity of elections. Defendants’ violations of the NVRA

have impaired and will continue to impair the Foundation from carrying out this

mission, and thus the Foundation has itself has been harmed and continues to be

harmed by Defendants’ noncompliance with the NVRA.

      12.    The failure of the Defendants to comply with their obligations under

federal voter registration laws has undermined the confidence of Detroit’s properly

registered voters in the integrity of the voter registration rolls and, accordingly, has

undermined the integrity of elections held both within the City of Detroit and across

the State of Michigan.

Defendants’ Obligation to Conduct List Maintenance

      13.    Defendants are responsible for maintaining Detroit’s voter rolls. “City

and township clerks maintain the voter registration records for their respective

jurisdictions and are responsible for administering all federal, state, county, city,

township and village elections.” Michigan Election Officials’ Manual, Chapter 1,

page 5, available at https://www.michigan.gov/documents/sos/I_Structure_of_

MI_Elections_System_265982_7.pdf.


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       14.    Michigan law provides guidance for how Defendants are to maintain

the voter rolls:

       (1)    A clerk may conduct a program to register qualified electors or
              to remove names of registered voters who are no longer qualified
              to vote in the city or township from the registration records of
              that city or township. A clerk who conducts a program to register
              voters or to remove names under this section shall administer the
              program in a uniform manner to the entire city or township. The
              clerk shall use nondiscriminatory procedures that comply with
              the requirements of the voting rights act of 1965, Public Law 89-
              110, 79 Stat. 437.

       (2)    The clerk shall complete any program to remove names
              conducted under this section 90 days or more before the date of
              a federal election. The 90-day deadline under this subsection
              does not apply to the removal of names from the registration
              records of a city or township under 1 of the following
              circumstances:

              (a) At the request or authorization of a voter.
              (b) Upon the death of a voter.
              (c) Upon notice that a voter has moved from the city or township
              and has completed an application at the new address.

       (3)    Subject to the requirements of this section, a clerk may use 1 or
              more of the following to conduct a program to register voters or
              remove names under this section:
              (a) A house-to-house canvass.
              (b) A general mailing to voters for address verifications.
              (c) Participation in the national change of address program
                    established by the postal service.
              (d) Other means the clerk considers appropriate.

MICH. COMP. LAWS § 168.509dd.

       15.    According to Michigan law, “The secretary of state shall notify each

clerk of the following information regarding residents or former residents of the

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clerk’s city or township: … (c) Death notices received by the secretary of state.”

MICH. COMP. LAWS § 168.509z.

      16.    Pursuant to Michigan law,

      At least once a month, the county clerk shall forward a list of the last
      known address and birth date of all persons over 18 years of age who
      have died within the county to the clerk of each city or township within
      the county. The city or township clerk shall compare this list with the
      registration records and cancel the registration of all deceased electors.

MICH. COMP. LAWS § 168.510.

      17.    Michigan law provides that “[t]he several township, city and village

clerks may conduct a house-to-house canvass or use such other means of checking

the correctness of registration records as may seem expedient.” MICH. COMP. LAWS

§ 168.515.

      18.    The Michigan Election Officials’ Manual is a document that “is

designed to serve as a lasting information resource on election related matters.”

Introduction,   Michigan       Election    Officials’     Manual,       available   at

https://www.michigan.gov/documents/sos/June_2011_Clerk_Accredi_Manual_

Cover-Content_362765_7.pdf. Pursuant to the Michigan Election Officials’ Manual,

Defendant Winfrey is “authorized to cancel a voter’s registration record” under

certain circumstances, including but not limited to when she “receives or obtains

information that the voter has died.” Michigan Election Officials’ Manual, Chapter

2, Page 20, available at https://www.michigan.gov/documents/sos/II_Voter_


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Registration_265983_7.pdf. The Michigan Election Officials’ Manual provides the

following examples of sources for such information: “QVF inbox notification;

county clerk; death notices published in newspaper; personal firsthand knowledge.”

Id.

      19.    Michigan’s State Plan under the Help America Vote Act further

demonstrates that local election officials such as Defendants are charged with

complying with the NVRA. For example, Michigan’s State Plan states that “[i]n

order to provide local election officials with the tools to comply with the National

Voter Registration Act (NVRA), the State of Michigan enhanced the [Qualified

Voter File] to automate the cancellation process….the QVF will automatically

forward lists of registered voters subject to cancellation to each election official.”

Publication of State Plan Pursuant to the Help America Vote Act, 70 FR 69530,

69546 (Nov. 16, 2005).

Evidence of the City of Detroit’s Unreasonable List Maintenance Efforts

      20.    According to the official results for the November 8, 2016 general

election, the City of Detroit had 511,786 registrants. https://detroitmi.gov/

document/november-8-2016-official-general-election-results. According to the U.S.

Census Bureau’s 2016 American Community Survey 1-year Estimates, the City of

Detroit had a citizen, voting-age population of approximately 479,267. American




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Community Survey estimates available at https://factfinder.census.gov. Based on

this data, Detroit has more registered voters than adult citizens of voting age (106%).

       21.   An analysis by a third-party data firm indicates that Detroit’s

implausible registration rate has persisted for many years. Crain’s Detroit Business,

Detroit has more registered voters than residents over 18, Census finds, Aug. 22,

2011, available at https://www.crainsdetroit.com/article/20110822/BLOG097/

110829985/detroit-has-more-registered-voters-than-residents-over-18-census.

“Detroit’s voter rolls have been plagued by duplicate, incorrect or invalid

registrations for a long time, and bringing the lists into compliance is a Herculean

task.” Id.

       22.   Detroit’s inflated registration rates are indicative of obsolete and

inaccurate registrations, including registrants who are ineligible by reason of death,

relocation, or non-U.S. citizenship.

The Foundation’s Efforts to Remedy the Problems on Detroit’s Rolls

       23.   If bringing the City of Detroit’s list maintenance practices into

compliance with the NVRA is a Herculean task, then the Foundation is Iolaus due

to the extraordinary measures the Foundation has taken in order to help Defendants

remedy the problems with Detroit’s voter rolls.

       24.   The Foundation first started to attempt to cure problems with Detroit’s

list maintenance practices when it requested list maintenance records from the City


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of Detroit on October 3, 2017, more than two years prior to the filing of this

Complaint.

      25.    During 2018, the Foundation continued probing the reasons for the City

of Detroit’s inflated registration rates.

      26.    In 2019, the Foundation purchased the State of Michigan’s entire voter

roll as of April 1, 2019.

      27.    The Foundation analyzed the City of Detroit’s official voter registration

list from the April 1, 2019 State of Michigan voter roll (hereinafter “Detroit’s voter

registration list”). The Foundation then identified records listing years of birth

indicating registrants of 105 years of age and older, with some records listing dates

of birth in the nineteenth century. According to the Foundation’s research, the oldest,

active registrant in the City of Detroit was purportedly born in 1823, 14 years before

Michigan was admitted to the Union as the 26th state.

      28.    The Foundation also checked birthdates from Detroit’s voter

registration list against records in the Social Security Death Index. After matching

other biographical information, the Foundation found a significant number of

deceased registrants whose registrations should have been canceled, but remain

registered to vote in Detroit. Some have been registered to vote for an extraordinary

length of time after passing. This indicates systematic list maintenance failures,

including a failure to investigate and act on official leads from the Secretary of State,


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MICH. COMP. LAWS § 168.509z, and county clerks, MICH. COMP. LAWS § 168.510,

and a failure to conduct periodic, manual review of the voter file to identify

implausible and impossible dates of birth.

      29.      Conversely, a review of the same data found that at least one minor

registered to vote well before the allowable age of 17 ½.

      30.      The Foundation’s analysis also found apparent duplicate and triplicate

 registrations for the same person. Such duplicate and triplicate registrations

 demonstrate that Detroit is allowing the same individuals to register to vote multiple

 times and thus is failing to implement a reasonable list maintenance program. Based

 on the Foundation’s research, Defendants are not doing an adequate job checking

 for existing registrations and/or not cancelling previous registrations when found.

 Such duplicate registrations are in direct violation of MICH. COMP. LAWS §

 168.505(l).

      31.      On May 23, 2019, the Foundation sent a statutory notice letter to

Defendant Winfrey pursuant to 52 U.S.C. § 20510(b), notifying her that the City of

Detroit was in violation of the NVRA. A true and accurate copy of the statutory

notice letter is attached hereto as Exhibit A (hereinafter “Notice Letter”). The Notice

Letter informed Defendant Winfrey “that the City of Detroit is not in compliance

with Section 8.” Exhibit A at 1. The Notice Letter explained that, the Foundation’s

“review of Detroit’s official registration list indicates that [Defendant Winfrey’s]


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office is not making a reasonable effort to remove the names of deceased registrants,

as required by the NVRA.” Id. at 2. The Notice Letter also stated that, based on the

Foundation’s research, “it appears [Defendant Winfrey’s] office is not doing an

adequate job checking for existing registrations and/or not cancelling previous

registrations when found.” Id. at 3.

      32.    The Notice Letter also included a request to inspect certain list

maintenance records pursuant to the NVRA. Id. at 4-6.

      33.    Pursuant to 52 U.S.C. § 20510(b)(1), also on May 23, 2019, the

Foundation mailed the Notice Letter to the Michigan Secretary of State, the chief

election official of Michigan. See, Exhibit A at 6.

      34.    The Notice Letter also stated that a lawsuit may be brought to ensure

compliance with the requirements of the NVRA. Id. at 3-4.

      35.    The Foundation did not receive a response from Defendants regarding

the Notice Letter.

      36.    On July 8, 2019, the Foundation again wrote to Defendant Winfrey,

informing her that “Detroit is engaged in ongoing violations of the NVRA and

Michigan law.” A true and correct copy of the letter is attached hereto as Exhibit B.

The Foundation also stated that “[a]ction must be taken immediately to ensure that

Detroit’s registration lists are current and accurate for elections in 2019, 2020 and




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beyond. Our representatives plan to visit your office on July 30, 2019.” Id.

(emphasis in original).

      37.    Defendant Azzouz responded by email on July 9, 2019. A true and

correct copy of the email is attached hereto as Exhibit C. Defendant Azzouz stated

that the office has “been gathering data for [the Foundation’s] review since [the

office] received [the Foundation’s] request.” Exhibit C at 2. Mr. Azzouz also

confirmed the Foundation’s visit on July 30, 2019. Id.

      38.    On July 30, 2019, two representatives of the Foundation drove the

nearly 300 miles from the Foundation’s office to Defendants’ office in Detroit to

discuss the need for remedial action. Defendant Azzouz and another member of

Defendant Winfrey’s staff met with the representatives of the Foundation. During

the meeting, Defendant Azzouz admitted that the registrant identified by the

Foundation in the Notice Letter as purportedly born in 1823 was still registered to

vote in Detroit. Defendant Azzouz did not commit to taking any remedial action.

      39.    The Foundation also purchased access to third party databases,

including the Social Security Death Index, obituary databases, and other verifiable

death records. Access to such databases is priced per individual researched. The

Foundation is a nonprofit organization. Therefore, in order to conserve resources,

the Foundation narrowed the Detroit’s voter registration list to only those registrants




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exceeding 85 years in age. The Foundation then compared that extract against the

verifiable death record databases.

      40.    The Foundation compiled the information from its research in

spreadsheets, which included, inter alia, the name, address, voter identification

number, and date of death for each likely deceased registrant and the list of all likely

duplicated registrations. On September 13, 2019, the Foundation sent Defendants

this information. A copy of the letter sent is attached hereto as Exhibit D (with

certain information redacted for this filing). The Foundation requested a follow-up

meeting to discuss the Defendants’ remedial actions.

      41.    The Foundation’s research resulted in a list of 2,503 registrants who are

indicated as deceased in one or more databases of death records. Exhibit D at 2. See

also, Exhibit E (an accurate representation of the list of names of likely deceased

registrants provided to the Defendants, including only the first name and last initial,

and with other personal information removed or redacted for this filing).

      42.    The Foundation separated the list of names into two categories. The

first category contained 2,138 registrants that were either matched against the Social

Security Death Index alone or the Social Security Death Index and an obituary. See

Exhibit E at 1-47. The second category contained 365 registrants that were matched

against an obituary or other verifiable death records. Exhibit E at 48-55.




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      43.    Of the registrants flagged by the Foundation as likely deceased, sixty-

five percent, or 1629 registrants, have been deceased for more than 10 years. Of

those, 898 registrants have been deceased for more than 15 years, 324 registrants

have been deceased for more than 20 years, and 13 have been deceased for more

than 25 years.

      44.    The Foundation’s research is replicable. The Defendants could have

found the same information online for the purpose of maintaining the City of

Detroit’s voter rolls. For example, the Foundation located obituaries published in

local newspapers. See, e.g., Exhibit D at 3. The Foundation, through a simple

internet search, was also able to find a picture of the grave marker for one individual

included on the Foundation’s list of likely deceased registrants. See Exhibit F. The

Defendants could find the same information and use it to conduct voter list

maintenance. See Michigan Election Officials’ Manual, Chapter 2, Page 20

(“VOTER REGISTRATION CANCELLATIONS: A clerk is only authorized to

cancel a voter’s registration record under the following circumstances…• The clerk

receives or obtains information that the voter has died.”)

      45.    The Defendants have many tools available to conduct list maintenance

and, yet, they are failing to reasonably maintain the City of Detroit’s voter rolls.




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      46.      On information and belief, the actual number of registrants who are

likely deceased is higher than the 2,503 found in the Foundation’s limited search of

registrants aged 85 and older.

      47.      The Foundation also expended staff time to examine the City of

Detroit’s voter rolls for likely duplicate entries by identifying registrations with

identical or closely matching names, addresses, and birthdates. The Foundation’s

comparison yielded a list of 2,384 entries that are likely duplicates or triplicates.

Exhibit D at 4. See also, Exhibit G (an accurate representation of the list of names

of likely duplicate or triplicate registrants provided to the Defendants, including only

the first name and last initial, and with other personal information removed or

redacted for this filing.) The Foundation took the added step of cataloging the likely

duplicate and triplicate registrations into categories based on patterns identified

within the data. For example, the Foundation found 301 entries where the

information on the voter roll was identical. Exhibit D at 4. The Foundation also

found 289 entries with a likely clerical typographical error. Id.

      48.      The Defendants did not respond to the Foundation’s September 13,

2019 letter.

      49.      On October 10, 2019, the Foundation emailed the Defendants,

requesting information on actions taken in response to the research provided by the

Foundation. A true and correct copy of the email is attached hereto as Exhibit H.


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      50.    The Defendants did not respond to the Foundation’s email dated

October 10, 2019.

      51.    On November 4, 2019, the Foundation again emailed the Defendants

regarding the research provided concerning potentially deceased registrants on

Detroit’s voter rolls. Exhibit H at 1-2. The Foundation stated that representatives

planned to visit the office on November 15, 2019. On November 5, 2019, a member

of Defendants’ staff responded stating that she would check her colleagues’

schedules and respond by the end of the week. Id. at 1. After the time period provided

by the staff member for a response lapsed with no further communications, the

Foundation again emailed the Defendants stating its intention to visit the office on

November 15, 2019 to discuss list maintenance records and seek to implement a

remedy to cure Detroit’s practice of failing to remove ineligible registrants. Id.

      52.    On November 15, 2019, two representatives of the Foundation again

drove the nearly 300 miles from the Foundation’s office to Defendants’ office in

Detroit. The representatives met with Defendant Azzouz. Only after arriving was the

Foundation informed that Defendant Winfrey was not in the office.

      53.    Defendant Azzouz informed the Foundation that Defendants forwarded

the Foundation’s spreadsheet regarding likely duplicate registrations to the Secretary

of State’s office and had done nothing further regarding that information.




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      54.    Defendant Azzouz informed the Foundation that Defendants had taken

no action regarding the spreadsheet containing likely deceased registrants. When

asked what action would be taken, Defendant Azzouz did not commit to taking any

remedial action and indicated that he would need to speak with Defendant Winfrey.

The Foundation has not received any further correspondence from Defendants.

      55.    On November 22, 2019, over two years since its first request for

information and nearly six months after its Notice Letter, the Foundation sent

Defendants one final letter stating that legal action would follow unless Defendants

reach some type of plan to remedy these failures to conduct reasonable list

maintenance and remove deceased registrants, those who have moved and those who

are ineligible to vote ab initio by November 29, 2019. A true and correct copy of the

letter sent is attached hereto as Exhibit I. The Foundation did not receive a response.

      56.    On information and belief, Defendants have not taken any remedial

action regarding the evidence of potentially deceased, ineligible and duplicate

registrants provided by the Foundation.

      57.    The Foundation has spent considerable time and financial resources in

an effort to improve voter rolls in the City of Detroit. Defendants’ inaction has

harmed and continues to harm the Foundation.

      58.    As part of its mission, Plaintiff Foundation reviews voter rolls across

the country, including but not limited to those in the City of Detroit, to determine


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that registered voters are eligible to vote based on the requirements of state and

federal law.

       59.     For example, in 2018, the Foundation released a report entitled “Motor

City Mayhem” that detailed its research into Michigan’s voter registration rolls. The

report showed how noncitizens were caught within Michigan’s voter registration

process—particularly in the Detroit metro area. The report also explained problems

related to voter duplication and implausibly old dates of birth listed on active

registration files.

       60.     Defendant’s failure to take reasonable efforts to remove ineligible

registrants for the registrations rolls in the City of Detroit caused the Foundation to

divert financial resources to identify concrete examples for Defendants. Defendants’

failure to act upon the evidence provided by the Foundation caused the Foundation

to expend additional time and money in order to attempt to remedy the problem.

Defendants’ ongoing failure to comply with the NVRA continues to frustrate,

impede, and harm the efforts of the Foundation.

                                       COUNT I

          (Violation of the NVRA: Failure to Conduct List Maintenance)

       61.     Plaintiff Foundation realleges paragraphs 1 through 60 as if fully stated

herein.




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      62.    Defendants have failed to make reasonable efforts to conduct voter list

maintenance programs, in violation of Section 8 of NVRA, 52 U.S.C. § 20507.

      63.    Plaintiff Foundation has suffered an irreparable injury as a direct result

of Defendants’ violation of Section 8 of the NVRA, 52 U.S.C. § 20507. Defendants’

failure to comply with the NVRA has aggrieved and continues to aggrieve Plaintiff

by impairing its essential and core mission of fostering compliance with federal

election laws, promotion of election integrity and avoiding vote dilution when

ineligible voters participate in elections. Defendants’ failure to comply with the

NVRA has caused and continues to cause Plaintiff pecuniary injury.

      64.    Plaintiff will continue to be injured by Defendants’ violations of

Section 8 of the NVRA because confidence in the legitimacy of elections in the City

of Detroit will be undermined unless and until Defendants are enjoined from

continuing to violate the law.

      65.    Plaintiff Foundation has no adequate remedy at law.


                          PRAYER FOR RELIEF

      WHEREFORE, the Foundation prays for entry of a judgment:

      1.     Declaring Defendants to be in violation of Section 8 of the NVRA;

      2.     Permanently enjoining Defendants from violating Section 8 of the

NVRA;



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       3.     Ordering the Defendants to develop and implement reasonable and

effective registration list maintenance programs to cure failures to comply with

Section 8 of the NVRA and ensure that ineligible registrants are not on the City of

Detroit’s rolls;

       4.     Ordering the Defendants to pay the Foundation’s reasonable attorney’s

fees, including litigation expenses and costs, pursuant to 52 U.S.C. § 20510(c); and

       5.     Granting the Foundation further relief that this Court deems just and

proper, including potential preliminary injunctive relief to ensure that Defendants’

failures to comply with Section 8 of the NVRA are cured prior to the 2020 primary

and general elections.


Dated: December 10, 2019               Respectfully submitted,


                                       For the Plaintiff Foundation:


                                       /s/ Robert L. Avers
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